          Case 1:20-mj-09524-UA Document 1 Filed 09/08/20 Page 1 of 5



Approved: ______________________________________________________
          SAMUEL L. RAYMOND
          Assistant United States Attorney

Before:      THE HONORABLE SARAH NETBURN
             United States Magistrate Judge

                                                  20 MAG 9524
             Southern District of New York
- - - - - - - - - - - - - - - - - - X
UNITED STATES OF AMERICA                    :   SEALED COMPLAINT

           - v. -                           :   Violation of
                                                18 U.S.C. §§ 1956 and 2
ABDULLAH SHAFI,                             :
                                                COUNTY OF OFFENSE:
                        Defendant.          :   NEW YORK


- - - - - - - - - - - - - - - - - - X

SOUTHERN DISTRICT OF NEW YORK, ss.:

     ALI AMHAZ-STRICKLAND, being duly sworn, deposes and says
that he is a Special Agent with the Federal Bureau of
Investigation (“FBI”), and charges as follows:

                               COUNT ONE
                (Conspiracy to Commit Money Laundering)

          1.   In or about July 2019, in the Southern District
of New York and elsewhere, ABDULLAH SHAFI, the defendant, and
others known and unknown, willfully and knowingly did combine,
conspire, confederate, and agree together and with each other to
violate the money laundering laws of the United States.

          2.   It was a part and an object of the conspiracy
that ABDULLAH SHAFI, the defendant, and others known and unknown,
would and did conduct and attempt to conduct financial
transactions involving property represented to be the proceeds
of specified unlawful activity, and property used to conduct and
facilitate specified unlawful activity, to wit, visa fraud, in
violation of Title 18, United States Code, Section 1546, with
the intent to conceal and disguise the nature, location, source,
ownership, and control of that property.

           (Title 18, United States Code, Section 1956(h).)
       Case 1:20-mj-09524-UA Document 1 Filed 09/08/20 Page 2 of 5



                              COUNT TWO
                         (Money Laundering)

          3.   On or about July 9, 2019, in the Southern
District of New York and elsewhere, ABDULLAH SHAFI, the
defendant, would and did conduct and attempt to conduct
financial transactions involving property represented to be the
proceeds of specified unlawful activity, and property used to
conduct and facilitate specified unlawful activity, to wit, visa
fraud, in violation of Title 18, United States Code, Section
1546, with the intent to conceal and disguise the nature,
location, source, ownership, and control of that property.

  (Title 18, United States Code, Sections 1956(a)(3)(B) and 2.)

          The bases for my knowledge and for the foregoing
charges are, in part, as follows:

          4.   I am a Special Agent with the FBI, and have
served in that position for more than three years. In that
capacity, I have participated in investigations into money
laundering, fraud, and other complex financial offenses, and
have personally participated in the investigation of this matter
along with agents with the FBI.

          5.   I make this Affidavit in part on personal
knowledge based on my participation in the investigation; review
of reports and other documents prepared by law enforcement
agents and others; review of recorded conversations; and
physical surveillance.

          6.   Throughout this Affidavit, where I assert that a
statement was made, I was not the individual to whom the
statement was made unless I specifically so state. Rather,
information about the statement was provided by the specified
law-enforcement officer or confidential source to whom I have
spoken or whose reports I have read and reviewed. Such
statements are among many statements made by others and they are
set forth in substance and in part, unless otherwise indicated.
Similarly, the information in this Affidavit resulting from
surveillance, except where otherwise specifically indicated,
does not set forth my personal observations, but rather was
provided to me by other law enforcement officers who observed
the events described, and/or to whom I have spoken or whose
reports I have read.



                                   2
       Case 1:20-mj-09524-UA Document 1 Filed 09/08/20 Page 3 of 5



          7.   Furthermore, the facts and circumstances of this
investigation have been summarized for the specific purposes of
this Affidavit. I have not attempted to set forth the complete
factual history of this investigation or all of its details. In
making this Affidavit, I rely only on the facts stated herein.

                          The Investigation

          8.   Some time before June 2019, (“CS-1”)1 informed law
enforcement that he knew a man (“CC-1”) who CS-1 believed was
involved in laundering money. At various times before June
2019, at the direction of myself and other law enforcement
officers, CS-1 represented to CC-1 in telephone and WhatsApp
communications that CS-1 was engaging in visa fraud by obtaining
visas for various individuals on false pretenses. CS-1
represented to CC-1, in substance and in part, that, as a result
of that visa fraud, CS-1 had obtained large quantities of cash,
and that CS-1 needed a way to conceal the source and nature of
that money so as to legitimize that the proceeds of CS-1’s
purported visa fraud for use in the United States.2 In a series
of transactions before June 2019, CC-1 arranged for another
person (“CC-2”) to receive more than $100,000 cash from CS-1,
which CS-1 represented as the proceeds of CS-1’s visa fraud.
CS-1 then told CC-1 or CC-2 to transfer the cash to specific
accounts provided by CS-1 which were in fact controlled by law
enforcement. On each occasion, the requested money was
transferred to the specified accounts, with CC-1 and CC-2 taking
a small fee as payment.

          9.   On or about July 7, 2019, CS-1 placed a recorded
call to a number which CS-1 informed law enforcement belonged to


1  CS-1 has previously been arrested for violations of federal
law, namely the federal immigration laws. CS-1 is currently
subject to an order of deportation, but has been cooperating
with law enforcement in exchange for temporary relief from
removal. The information that CS-1 has provided in connection
with this investigation has proven reliable, and has been
independently corroborated by other evidence, including physical
surveillance of the below-described meetings, and audio
recordings.

2  When CS-1 and CC-1 speak, and when CS-1 and SHAFI spoke, they
usually speak in Punjabi, and the conversations have been
translated herein by native speakers. I have reviewed draft
translations of these conversations.
                                   3
       Case 1:20-mj-09524-UA Document 1 Filed 09/08/20 Page 4 of 5



CC-1. CS-1 told CC-1 that CS-1 had approximately $30,000 in
cash, and asked if CC-1 had anyone who could pick up the money,
because CC-2 was unavailable.   CS-1 asked that after CC-1
arranged to have someone pick up the money, that CC-1 transfer
the money to specific accounts, which were in fact controlled by
the FBI. The next day, July 8, 2019, CC-1 contacted CS-1 and
told CS-1 that a man named “Abdullah,” later identified as
ABDULLAH SHAFI, the defendant, would meet CS-1 on July 9 to
receive the cash from CS-1; this call was recorded. The same
day, CC-1 provided CS-1 with a telephone number which CC-1 said
belonged to “Abdullah” (the “Number”). Later on July 8, in a
recorded call, CC-1 and “Abdullah” placed a conference call to
CS-1. CC-1 told CS-1 that “Abdullah” is CC-1’s older brother
and asks CS-1 to plan to meet Abdullah on July 9. Abdullah told
CS-1 that Abdullah would meet CS-1 the next day between 3 and 4
pm in Manhattan; CS-1 agreed.

          10. On or about July 9, 2019, in a recorded call, CS-
1 contacted the Number and spoke to Abdullah. The two agreed to
meet at a location in Manhattan (the “Meeting Location”).

          11. I participated in the surveillance of this
meeting. Before the meeting, law enforcement agents provided
CS-1 with an audio recording device, and $30,000 in United
States currency to conduct the below-described operation. I
participated in surveillance of the below-described operation.
I and other law enforcement agents observed a man driving a
Toyota sedan with a specific New York license plate to the
Meeting Location. This man parked and exited the Toyota sedan,
and went to the Meeting Location, where he met CS-1 and
conversed for about half an hour. Prior to participating in
surveillance of the meeting, I reviewed a known DMV photograph
of ABDULLAH SHAFI, the defendant, and the U.S. passport
photograph of SHAFI, and I confirmed this was the same man who
met with CS-1. After a certain amount of time, SHAFI and CS-1
left the Meeting Location and both entered the Toyota sedan.
After the car drove for a few minutes, CS-1 exited, and the car
drove away.

       a. I and the other members of the team debriefed CS-1
          thereafter; according to CS-1, and as confirmed by the
          audio recording of their meeting, CS-1 discussed his
          visa fraud operation in detail with SHAFI.
          Specifically, CS-1 told SHAFI that CS-1 refers people
          with difficult immigration cases to a corrupt
          government official, who illegally provides visas for


                                   4
       Case 1:20-mj-09524-UA Document 1 Filed 09/08/20 Page 5 of 5



          a fee of $25,000, of which CS-1 receives 10% as a
          referral fee.

       b. When SHAFI and CS-1 returned to SHAFI’s car, CS-1 gave
          SHAFI the $30,000 which had been provided by law
          enforcement, and SHAFI told CS-1 to talk to CC-1 if
          CS-1 wants to provide more money. In SHAFI’s
          presence, CS-1 called CC-1 to confirm that CS-1 had
          given $30,000. CS-1 then exited the car.

       c. I have reviewed bank and other records which show that
          soon after July 9, money entered the accounts
          controlled by the FBI, in an amount consistent with
          the previous operations involving CC-1 and CC-2
          whereby the two would take a fee for the transfers.

WHEREFORE, deponent respectfully requests that a warrant be
issued for the arrest of ABDULLAH SHAFI, the defendant, and that
he be arrested and imprisoned or bailed, as the case may be.




                           /s authorized electronic signature
                           _______________________________
                           ALI AMHAZ-STRICKLAND
                           Federal Bureau of Investigation


Sworn to me through the transmission
of this Affidavit by reliable electronic means,
pursuant to Federal Rules of Criminal Procedure
41(d)(3) and 4.1, this 8th day of September, 2020 .




__________________________________
THE HONORABLE SARAH NETBURN
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK




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